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                IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
      v.                                    )   Criminal Case No. 2:94cr62-MHT
                                            )              (WO)
DONALD MINEFIELD                            )

                                          ORDER

      The Clerk of Court is hereby DIRECTED to:

      (1) strike (a) the pleading styled as a “Writ of Deliverance[:] Motion for Summary

Judgment” and (b) the Recommendation of the Magistrate Judge that are currently docketed

as Doc. Nos. 2068 and 2069 in the above-styled case;

      (2) open a new civil action under 28 U.S.C. § 2255 and docket the same motion and

Recommendation in the newly opened civil action;

      (3) assign the newly opened civil action to the magistrate judge and district judge to

whom the instant case is assigned; and

      (4) refer the case file to the appropriate magistrate judge for further proceedings upon

completion of the foregoing directives.

      Done this 17th day of December, 2012.



                                        /s/ Charles S. Coody
                                   CHARLES S. COODY
                                   UNITED STATES MAGISTRATE JUDGE
